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  1 John B. Quinn (Bar No. 90378)
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                                                                                    BY penning DEPUTY CLERK
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  8 Attorneys for Secured Creditor,
    HILLAIR CAPITAL MANAGEMENT, LLC
  9
                                     UNITED STATES BANKRUPTCY COURT
 10
                                      CENTRAL DISTRICT OF CALIFORNIA
 11
                                                LOS ANGELES DIVISION
 12
      In re                                                        CASE NO. 2:19-by-14989-WB
 13                                                                Jointly Administered:
      SCOOBEEZ, et al.1                                            2:19-bk-14991-WB; 2:19-bk-14997-WB
 14
               Debtors and Debtors in Possession.                  Chapter 11
 15
      Affects:                                                     [PROPOSED] ORDER DENYING
 16                                                                AMAZON LOGISTICS’ MOTION FOR A
          ◼ All Debtors                                            PROTECTIVE ORDER QUASHING
 17                                                                DOCUMENT REQUESTS AND
           Scoobeez, ONLY                                         DEPOSITION NOTICES PROPOUNDED
 18                                                                BY HILLAIR CAPITAL MANAGEMENT,
           Scoobeez Global, Inc., ONLY                            LLC.
 19
           Scoobur, LLC, ONLY                                     Date: November 4, 2019
 20                                                                Time: 2:00 p.m.
                                                                   Ctrm: 1375
 21                                                                       United States Bankruptcy Court
                                                                          Edward Roybal Federal Building
 22                                                                       255 E. Temple Street
                                                                          Los Angeles, CA 90012
 23                                                                       The Hon. Julia Brand

 24

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          1
              The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
 27 Scoobeez (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC (0343). The Debtors’ address is 3463 Foothill
      Boulevard, Glendale, California 91214.
 28


                       ORDER DENYING AMAZON LOGISTICS’ MOTION FOR PROTECTIVE ORDER
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  1         On November 4, 2019 at 2:00 p.m. in Courtroom 1375 of the above entitled Court, with

  2 the Honorable Julia Brand, judge presiding, a hearing was conducted on Amazon Logistics, Inc.’s

  3 Motion For a Protective Oder Quashing Document Requests and Deposition Notices Propounded

  4 by Hillair Capital Management, LLC (“Motion”) filed on October 31, 2019 [ECF No.405].

  5         The Court having read and considered the Motion, the opposition to the Motion (the

  6 “Opposition”) filed by Hillair Capital Management, LLC (“Hillair”) [ECF No. 413], all pleadings

  7 and papers filed in connection with the Motion and Opposition, the arguments of counsel present

  8 at the hearing; and the Court finding that notice and service of the Motion was proper and in

  9 accordance with this Court’s Order Granting Application and Setting Hearing on Shortened

 10 Notice entered on November 1, 2019 [ECF No. 407] and good cause appearing therefor;

 11
      IT IS HEREBY ORDERED THAT:
 12
                1. The Motion is denied.
 13
                2. The Court retains jurisdiction to interpret and enforce the terms of this Order.
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 24 Date: November 6, 2019

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                   ORDER DENYING AMAZON LOGISTICS’ MOTION FOR PROTECTIVE ORDER
Case 2:19-bk-14989-WB        Doc 423 Filed 11/06/19 Entered 11/06/19 15:10:14   Desc
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  1
      Approved as to form:
  2
      Morgan, Lewis & Brockius LLP
  3

  4 By: /s/ Richard Esterkin___
    Richard Esterkin
  5 Attorneys for Amazon Logistics, Inc.

  6
      Quinn Emanuel Urquhart & Sullivan, LLP
  7

  8 By: /s/ Eric Winston_____
    Eric Winston
  9 Attorneys for Hillair Capital Management, LLC

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                  ORDER DENYING AMAZON LOGISTICS’ MOTION FOR PROTECTIVE ORDER
